
672 S.E.2d 24 (2009)
HARLEYSVILLE INS.
v.
BUZZ OFF INSECT.
No. 272A08.
Supreme Court of North Carolina.
January 6, 2009.
David L. Brown, John I. Malone, Jr., Martha P. Brown, Greensboro, for Harleysville Mutual Ins. Co.
John S. Buford, Greensboro, Cecilia O. Miller, Diana S. Casey, San Diego, CA, for International Garment Tech.
Gary K. Sue, Greensboro, Michael A. Hamilton, for Erie Insurance.
David Neal Allen, Charlotte, Theodore B. Smyth, Raleigh, for NC Assoc of Defense Attys.
Joseph W. Eason, Stephen D. Martin, Raleigh, for Property Casualty Insurers Asso.
The following order has been entered on the motion filed on the 2nd day of January 2009 by Defendant (International Garment Tech) for Extension of Time to File Brief:
"Motion Allowed. Defendant (International Garment Tech) shall have up to and including the 23rd day of January 2009 to file and serve his/her brief with this Court. By order of the Court in conference this the 6th day of January 2009."
